ILND 450 (Rev.Case:   1:12-cv-03130
              10/13) Judgment in a Civil ActionDocument   #: 179 Filed: 03/25/20 Page 1 of 1 PageID #:4075

                                    IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS

 JEFF FOSTER ,

 Plaintiff(s),
                                                                   Case No. 12-cv-03130
 v.                                                                Judge Mary M. Rowland

 PNC BANK NA ,

 Defendant(s).

                                      PARTIAL JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                 in favor of.
                 and against
                 in the amount of $,

                          which         includes       pre–judgment interest.
                                        does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                 in favor of defendant(s)
                 and against plaintiff(s)

         Defendant(s) shall recover costs from plaintiff(s).


               other: Judgment is entered in favor of Defendant PNC Bank N.A. and against Plaintiff Foster on
Foster’s claims as to the Florida Loan, and judgment is entered in favor of Counter-plaintiff PNC Bank N.A.
and against Counter-defendant Foster on PNC’s counterclaim for judgment on the Florida Loan in the amount
of $1,412,242.85.

This action was (check one):

      tried by a jury with Judge Mary M. Rowland presiding, and the jury has rendered a verdict.
      tried by Judge Mary M. Rowland without a jury and the above decision was reached.
      decided by Judge Mary M. Rowland on a motion for summary judgment.


Date: 3/25/2020                                                Thomas G. Bruton, Clerk of Court

                                                     Dawn A. Moreno, Deputy Clerk
